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 3
     Attorney for Aleksandr Vilchitsa
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 8                   IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                             ) Case No.: 2:11-CR-0423-GGH
11   UNITED STATES OF AMERICA,               )
                                             ) STIPULATION AND ORDER
12             Plaintiff,                    )
                                             ) DATE: December 5, 2011
13        v.                                 ) TIME: 9:00 a.m.
                                             ) JUDGE: Honorable Gregory G.
14   BRYAN R. CRUZ, and                      ) Hollows
                                             )
15   ALEKSANDR V. VILCHITSA                  )
16             Defendants.
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18        It is hereby stipulated and agreed to between the United
19   States of America through JUSTIN LEE, Assistant United States
20   Attorney, and defendant, Aleksandr Vilchitsa, through his
21   counsel, KENDALL DAWSON WASLEY, and defendant Bryan Cruz,
22   through his counsel, ERNEST CHEN that the jury trial date of
23   December 19, 2011 and the trial confirmation hearing date of
24   December 5, 2011 be vacated, and that a new jury trial date of
25   February 13, 2012 and a new trial confirmation hearing date of
26   January 30, 2012 be set.
27        This continuance is being requested because defense counsel
28   for Mr. Vilchitsa needs additional time to review the discovery,


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 1   investigate the case, and research the relevant law. The parties

 2   request that speedy trial time be excluded from the date of this

 3   order through the date of the jury trial set for February 13,

 4   2012 pursuant to 18 U.S.C. §§ 3161(h)(8)(B)(iv) [reasonable time

 5   to prepare] (Local Code T4).

 6   DATED:    November 30, 2011         Respectfully submitted,

 7
                                           s/Kendall Dawson Wasley_______
 8                                       Kendall Dawson Wasley
                                         Attorney for Aleksandr Vilchitsa
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11                                        /s/ Ernest Chen   _____________
     DATED:    December 1, 2011          ERNEST CHEN
12                                       Attorney for Bryan Cruz
13

14
                                          /s/ Justin Lee    _____________
15
     DATED:    November 30, 2011         Justin Lee
16                                       Assistant United States Attorney

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19                                     O R D E R
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     The court finds that the interests of justice outweigh the
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     rights of the public and the defendant to a speedy trial.
22
          IT IS SO ORDERED.
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     DATED: December 2, 2011             /s/ Gregory G. Hollows
24                                       _____________________________
                                         HONORABLE Gregory G. Hollows
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